     Case 8-18-73782-reg         Doc 20-5    Filed 07/31/18    Entered 07/31/18 14:19:45




 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK

 In re:
                                                                Index No. 18-73782(REG)
 PATRICIA LAMANNA,
 a/k/a PATRICIA ROSE MCCALLAN                                   Chapter 7

                                Debtor.
                                                          -X



STATE OF NEW YORK              )
                               )S.S.:
COUNTY OF SUFFOLK              )

          COOPER J MACCO,being duly sworn deposes and says: deponent is not a party to this
action, is over 18 years of age and resides in Huntington, New York.

          On July"^), 2018, deponent served the within:

• Notice Of Hearing On Motion For An Order:(I) Authorizing The Trustee To Conduct A
  Public Auction Sale Of Certain Residential Real Property Free And Clear Of All Liens,
  Claims, And Encumbrances; and (II) Approving The Terms Of Sale For Public Auction
   Sale
• Motion For An Order:(I) Authorizing The Trustee To Conduct A Public Auction Sale
  Of Certain Residential Real Property Free And Clear Of All Liens, Claims, And
  Encumbrances; and (II) Approving The Terms Of Sale For Public Auction Sale

upon the following parties at the addresses designated by said parties for that purpose, by
depositing a true copy of same, enclosed in a post-paid properly addressed wrapper in an official
depository under the exclusive care and custody of the United States Postal Service within the
State of New York:

 TO:      OFFICE OF THE UST                          ALL PARTIES AND NOTICES OF
          Office of the U.S. Trustee                 APPEARANCE
          Long Island Federal Courthouse             See Attached List
          560 Federal Plaza
           Central Islip, NY 11722

          DEBTOR                                     DEBTOR'S COUNSEL
          Patricia Lamanna                           Neil Ackerman, Esq.
          a/k/a Patricia Rose McCallan               Ackerman Fox, LLP
          107 Wilson Place                           90 Merrick Avenue, Suite 400
          BeIlmore,NY 11710                          East Meadow,NY 11554
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    Notaiy Public,State of Ni
   No.02ST4665096,Suffolk^
  Commission Expires April 301
                         Case 8-18-73782-reg       Doc 20-5          Filed 07/31/18     Entered 07/31/18 14:19:45


Patricia Sose Ur.anna                           Ally Bank                                      Maltz Auctions, Inc.
107 Wilson Place                                PO Box 130424                                  39 Windsor Place
Bellmore, NV 11710-3402                         Roseville, HK 55113-0004                       Central Islip, NY 11722-3301




                                                Wells Fargo Bank, N.A.                         290 Federal Plaza
Santander Consuirer USA Inc. dba Chrysler Cap
c/o Stewart, Zlinen 4 Jungers, Ltd.             c/o Frenkel Lambert et al.                     Central Islip, NY 11722-4437
2860 Fatten Road                                53 Gibson Street
Roseville, MN 55113-1100                        Bay Shore, NY 11706-8369


                                                Aaex Dsnb                                      (p)EAHK 0? AMERICA
Ally Financial
                                                9111 Duke Blvd                                 PO BOX 982238
200 Renaissance Ctr
                                                Mason, OH 45040-3999                           EL PASO TX 79998-2238
Detroit, MI 48243-1300




                                                Capital One                                    Chrysler Capital
C3NA
                                                P.O. Box 30253                                 P.O. Box 961275
P.O. Box 6189
Sioux Falls, SD 57117-6189                      Salt Lake City, OT 84130-0253                  Fort Worth, TX 76161-0275




Conenity Bank/Spiegel                           Discover Bank                                  (p)DISCOVER FINANCIAL SERVICES LLC
                                                Discover Products Inc                          PO BOX 3025
P.O. Box 182789
                                                PO Box 3025                                    NEW ALBANY OH 43054-3025
Columbus, OH 43218-2789
                                                 New Albany, OH 43054-3025


                                                 Mazda America Cr                              Nassau Educators FCD
Frenkel Lambert Weiss
                                                 9009 Caruthers Pkwy                            264 E Herrick Rd
Weisman 6 Gordon LLP
53 Gibson Street                                 Franklin, TN 37067-1704                        Valley Stream, NY 11580-6034
 Bay Shore, NY 11706-8369



 Sears/CBNA                                      Syncb/Care Credit                              Syncb/Evine
                                                 P.O. Box 965036                                P.O. Box 965005
 P.O. Box 6283
 Sioux Falls, SD 57117-6283                      Orlando, FL 32896-5036                         Orlando, FL 32896-5005




 Syncb/Linen N Things                            Syncb/Lord( Taylor                             Syncb/PC Richard
                                                 P.O. Box 965015                                P.O. Box 965036
 P.O. Box 965005
 Orlando, FL 32896-5005                          Orlando, FL 32896-5015                         Orlando, FL 32896-5036




                                                 Town of Hempstead                              United States Trustee
 Teachers Federal
 Credit Union                                    Dept. of Planning i Eco D                      Long Island Federal Courthouse
                                                 200 North Franklin Street                      560 Federal Plaza - Room 560
 102 Motor Pkwy
 Hauppauge, NY 11788-5109                        First Floor                                    Central Islip, NY 11722-4456
                                                 Hempstead, NY 11550-1331


 Village Plaza Realty                            '(p')WELLS FARGO BANK NA                       Neil H Ackerman
                                                 HELLS FARGO HOME MRTGAGE AMERICAS SERVICING    Ackerman Fox, LLP
 141 Broadway
 Malverne, NY 11565-1634                         ATTK BANKRUPTCY DEPT MAC X7801-014             90 Merrick Avenue
                                                  3476 STATSVIEW BLVD                           Suite 400

                                                 FORT HILL SC 29715-7203                        East Meadow, NY 11554-1500
